                      UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
In re:

Exigent Landscaping, LLC,                              Case No. 23-46912-TJT
                                                       Chapter 7
                  Debtor.                              Hon. Thomas J. Tucker
___________________________/
Mark H. Shapiro, Trustee,

                      Plaintiff,
v.                                                     Adversary Proc. 24-04445

SCP Distributors, LLC,

               Defendant.
___________________________/

                             CERTIFICATE OF SERVICE

         I certify that on March 21, 2025, I served copies as follows:

 Document Served:         Plaintiff’s Initial Disclosures

 Served Upon:             SCP Distributors, LLC
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     24-04445-tjt   Doc 18   Filed 03/21/25   Entered 03/21/25 16:02:04   Page 1 of 1
